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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT
 __________________________________
 JAKUB MADEJ                        CIVIL ACTION No. 3:20-cv-00133-JCH

         Plaintiff,
 v.
                                                      JURY TRIAL DEMANDED
 YALE UNIVERSITY et al.
                                                      JUNE 24, 2020
      Defendants.LY??
 __________________________________


                             PLAINTIFF’S FIRST STATUS REPORT

       Pursuant to this Court’s March 24, 2020 scheduling order (Dkt. 57), Plaintiff Jakub

Madej submits the following status report. The order contemplates a joint report of counsel.

Nonetheless, the parties have failed to reach an agreement as to virtually anything that concerns

the report they should submit jointly. To resolve that quandary, parties decided to file a joint report

in two separate parts. The following is plaintiff’s part.




I.     PENDING MOTIONS

       On May 6, 2020, Yale Defendants filed a Rule 12(b)(6) motion to dismiss. Plaintiff

opposes that motion asserting that Yale’s argument goes light years beyond the “four corners of

the complaint”, and impermissibly challenges the legal sufficiency of plaintiff’s allegations with

selectively chosen evidence provided by Yale to support its fact pattern. On June 22, 2020, Plaintiff

requested a leave of court to file a second amended complaint. Should the Court grant leave,

defendants’ motion to dismiss would be terminated as moot. Defense counsel indicated that he

would oppose plaintiff’s motion for leave.
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         All pending motions in this case are listed in the table below.


 Docket Entry No.      Date filed              Title
 90                    May 6, 2020             Defendants’ Motion to Dismiss
 101                   May 27, 2020            Plaintiff’s Motion to Compel Compliance with
                                               Subpoena and for Contempt
 106                   June 5, 2020            Defendants’ Motion to Quash Subpoenas, and
                                               “Motion to Restrict Plaintiff to Sending Documents to
                                               Defense Counsel by E-mail”
 109                   June 18, 2020           Plaintiff’s Motion for Contempt and to Compel
                                               Compliance re: Subpoena to YPD
 110                   June 22, 2020           Plaintiff’s Second Motion for Leave to File Amended
                                               Complaint
 111                   June 23, 2020           Defendants’ Motion to Quash Subpoena Directed to
                                               Ozan Say




II.      STATUS OF DISCOVERY

         Paper discovery generated numerous disputes, which Parties attempt to resolve amicably

to the fullest extent possible before seeking judicial intervention. The Parties intend to exchange

additional documents before depositions begin. Plaintiff is mindful of this Court’s guidance that

any depositions be postponed until later this year. Based on the factual complexity of the issues

underlying this case, Plaintiff believes the current limitation of requests for admission to twenty

(20) is insufficient, and striking that specific number would help parties narrow down the issues

at dispute in preparation for summary judgment or trial.


         The following discovery requests have been issued:

      A. Discovery Directed to Plaintiff
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                    Title                       Date Requests         Date            Date
                                                 Propounded       Responses Due    Responses /
                                                                                   Objections
                                                                                    Provided
 Defendants’ Interrogatories and Request        April 13, 2020 May 13, 2020       May 13, 2020
 for Production to Plaintiff
 Defendants’ First Set of Requests For          June 24, 2020     July 24, 2020
 Admission


   B. Discovery Directed to Defendants

                    Title                       Date Requests         Date        Date Response
                                                 Propounded       Responses Due    / Objections
                                                                                     Provided
 Plaintiff’s First Set of Request for           May 6, 2020       June 29, 2020   June 8, 2020
 Admission for Defendant Yale University
 Plaintiff’s First Set of Requests for          May 7, 2020       June 29, 2020   June 19, 2020
 Admission for Defendant Mark Schenker
 Plaintiff’s Second Set of Requests for         May 8, 2020       June 29, 2020
 Admission for Defendant Yale University
 Plaintiff’s First Set of Interrogatories for   May 15, 2020      June 29, 2020   June 11, 2020
 Defendant Yale University
 Plaintiff’s First Request for Defendant        May 25, 2020      June 29, 2020   June 11, 2020
 Yale University to Produce Documents
 [Cloned Discovery]
 Request for Production and Inspection          May 25, 2020      June 29, 2020   June 11, 2020


   C. Third-Party Discovery


       Plaintiff continues to seek documents and ESI from third parties who likely have pertinent

knowledge about the facts underlying this case. Most of these individuals are employed at Yale

University but are not parties to these proceedings. Plaintiff disclaims any allegations of

wrongdoing on their part, unless specifically stated otherwise. Yale Defendants reportedly secured

noncompliance of at least six individuals with subpoenas duces tecum issued out of this Court.

Plaintiff seeks to enforce these subpoenas. See Dkts. 101, 109.
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III.   OTHER MATTERS THAT SHOULD BE BROUGHT TO THE COURT’S ATTENTION

       Yale University is the defendant in this case. That same Yale houses Yale Law School

(“YLS”), perhaps the most prestigious law school in the country. Dozens of appellate and district

court judges learned their craft at YLS, as did four current Justices of the Supreme Court.

Numerous illustrious legal scholars hailed from Yale Law School. But arguments Yale University

offers in this case would warrant only a grade of “F” in the first semester 1L Civil Procedure class

at Yale Law. Defendants should stand up to their law school’s reputation in this real-life civil

procedure “course”, and offer only sound legal arguments to the Court, not personal invectives

and confusing recitations of irrelevant facts. As one celebrated scholar at Yale Law has enlightened

the plaintiff, “good legal writing doesn’t make anyone feel stupid”.


       This is parties’ first status report. The second status report is due on September 22, 2020,

or ninety (90) days from filing the present report.


                                                             Respectfully submitted,
                                                             /s/ Jakub Madej

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